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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, ifany) Digital Revolution LLC a.k.a. Reputation Resolutions

 

was received by me on (date) 10 August 2020

 

CI personally served the summons on the individual at (place)

 

On. (date) 5 or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

on (date) ; or

 

©} [returned the summons unexecuted because ; or

 

After Mr. David Gringras, Esq., made it clear on 28 September 2020 that he was representing
Digital Revolution LLC a.k.a. Reputation Resolutions in this action, | emailed Mr. Gingras
copies of the compiaint and summons on 7 October 2020. Please see attached Exhibit “A”.

¥ Other (specify):

My fees are $ 50.00 for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

L (Serer 's signature

Alexander J. Petale, Esq.

Printed name and title

Law Offices of Alexander J. Petale
5478 Wilshire Blvd. Suite No. 223
Los Angeles, CA 90036

Server's address

 

 

Additional information regarding attempted service, etc:

   

 
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EXHIBIT A

 
Case 2:20-cv-06217-PA-SK Document 14 Filed 10/29/20 Page3of4 Page ID#:111

From: David Gingras david@gingrasiaw.com &
Subject: Murrey v. Minc, et al., U.S. Dist. Court Case No. 20-cv-6217 (CACD)
Date: September 28, 2020 at 4:58 PM
To: 2@lucasmurrey.io, lucas.murrey@aya.yale.edu, lucasmurrey@moneyandcukture.org
Ce: Jane Gingras jane@gingraslaw.com

Dr. Murrey,
My name is David Gingras. | am a lawyer in Phoenix, Arizona.

I've been retained by Aaron Minc, Minc LLC, Anthony Will, and Digital Revolution, LLC
with respect to a lawsuit you filed against them in the U.S. District Court in Los Angeles. |
trust you're familiar with this.

| would like to meet and confer with you regarding a Motion to Dismiss that my clients
intend to file. As you may know, the court’s rules require that the parties get together and
discuss any motions before they are filed. Obviously, the court wants the parties to
discuss things first to see if a resolution can be reached prior to asking the court for heip.
This doesn’t need to be a super-formal discussion, but the idea is for me to explain some
legal issues and arguments to you, and then you can consider them and let me know
your position.

With that in mind, will you please let me know when you're available to talk, hopefully
within the next week? This type of meet-and-confer typically needs to be done by phone,
So just let me know when would be a good time to call (my schedule is fairly open, so |
can probably make time whenever is good for you).

Thanks and | look forward to talking with you.

David Gingras, Esq.
Gingras Law Office, PLLC
David@GingrasLaw.com

https://Awitter.com/DavidSGingras
htip://gingrasiaw.com

Tel.: (480) 264-1400
80) 248-3196

 

 
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Sy 2
| From: Alexander Petale <petaleesg@gmaii.com>

CDate: Wed, Oct 7, 2020 at 5:02 PM

“Subject: Murrey v. Minc, et al., U.S. Dist. Court Case No. 20-cv-6217 (CACD)
To: <david@gingraslaw.com>

Tt

—

oO

Tt

aDear Mr. Gingras,

Gattached is Dr. Murrey's Federal Complaint and Summons naming your clients: Aaron Minc, Minc Law, Anthony Will and Digital Revolution LLC

caka Reputation Resolutions.
othanks,
CAlex Petale, Esq.

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4 Filed 1

#¢ FistamendedComplvCheaterre2.pdf

Attachments &.

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